                   Case 4:25-cv-03535-HSG                    Document 21                                         Filed 04/25/25          Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California


                ELI LILLY AND COMPANY,                                          )
                                                                                )
                                                                                )
                                                                                )
                            Plaintiff(s)                                        )
                                                                                )
                                v.                                                                Civil Action No. 3:25-cv-03535-WHO
                                                                                )
   AIOS INC d/b/a FELLA HEALTH and DELILAH,                                     )
  FELLA MEDICAL GROUP P.A., FELLA MEDICAL                                       )
                   GROUP P.C.                                                   )
                                                                                )
                           Defendant(s)                                         )

                                                    SUMMONS IN A CIVIL ACTION
                                            AIOS INC d/b/a FELLA HEALTH and DELILAH                                           Fella Medical Group P.A.
To: (Defendant’s name and address)          c/o The Corporation Trust Company                                                 c/o Corporation Service Company
                                            1209 Orange Street                                                                1201 Hays Street
                                            Wilmington, DE 19801                                                              Tallahassee, FL 32301

                                            Fella Medical Group P.C.
                                            c/o Koy Saechao
                                            2710 Gateway Oaks Drive
                                            Sacramento, CA 95833
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Yungmoon Chang
                                           KIRKLAND & ELLIS LLP
                                           2049 Century Park East
                                           Suite 3700
                                           Los Angeles, CA 90067

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                         S DISTR
                                                                                      ATE
                                                                                D
                                                                                    ST
                                                                                                IC
                                                                                                  T
                                                                                                               CLERK OF COURT
                                                                                                          CO




                                                                                                                      Mark B. Busby
                                                                           E
                                                                         IT




                                                                                                            UR
                                                                       UN




                                                                                                              T
                                                                       N O RT




                                                                                                               NI A




                4/25/2025
                                                                                                           OR




Date:
                                                                         HE




                                                                                                          IF




                                                                                N
                                                                                                          AL
                                                                                R




                                                                                    DI
                                                                                         S T RI T O F C
                                                                                               C
                                                                                                                             Signature of Clerk or Deputy Clerk
                                                                                                                                      Mark Romyn
                    Case 4:25-cv-03535-HSG                    Document 21         Filed 04/25/25           Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:25-cv-03535-WHO

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
